               Case 19-80594                    Doc 21               Filed 10/28/19 Entered 10/28/19 22:40:58                   Desc Main
                                                                       Document     Page 1 of 7
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                       Northern District of Illinois
 In re       Maria A Corcoran                                                                                 Case No.      19-80594
                                                                                    Debtor(s)                 Chapter       7

              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S) - AMENDED
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  1,482.00
             Prior to the filing of this statement I have received                                        $                  1,482.00
             Balance Due                                                                                  $                       0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached. Attorney David H Carter,
            341 appearance $50

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 28, 2019                                                              /s/ David H Cutler
     Date                                                                          David H Cutler
                                                                                   Signature of Attorney
                                                                                   Cutler & Associates, Ltd
                                                                                   4131 Main Street
                                                                                   Skokie, IL 60076
                                                                                   847-673-8600 Fax: 847-673-8636
                                                                                   david@cutlerltd.com
                                                                                   Name of law firm




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 2 of 7
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 3 of 7
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 4 of 7
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 5 of 7
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 6 of 7
Case 19-80594   Doc 21   Filed 10/28/19 Entered 10/28/19 22:40:58   Desc Main
                           Document     Page 7 of 7
